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                IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF HAWAII

JOSHUA SPRIESTERSBACH,       )           CIVIL NO. 21-00456 LEK-RT
                             )
               Plaintiffs,   )           DEFENDANT DR. SHARON
                             )           TISZA’S REPLY MEMORANDUM
          vs.                )           IN SUPPORT OF MOTION TO
                             )           DISMISS COMPLAINT, FILED ON
STATE OF HAWAI’I, CITY AND   )           MARCH 14, 2022; CERTIFICATE
COUNTY OF HONOLULU,          )           OF SERVICE
OFFICER ABRAHAM K. BRUHN, )
DEPARTMENT OF PUBLIC         )
SAFETY, OFFICE OF THE PUBLIC )
DEFENDER, NIETZSCHE LYNN )
TOLAN, MICHELLE MURAOKA, )
LESLIE MALOIAN, JACQUELINE )
ESSER, JASON BAKER,          )
MERLINDA GARMA, SETH         )
PATEK, DR. JOHN COMPTON, DR. )
MELISSA VARGO, DR. SHARON )              Judge: Hon. Leslie E. Kobayashi
TISZA, HAWAI’I STATE         )
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HOSPITAL, DR. ALLISON       )
GARRETT, and JOHN/JANE DOES )
1-10,                       )
                            )
               Defendants.  )
                            )

DEFENDANT DR. SHARON TISZA’S REPLY MEMORANDUM IN SUPPORT
   OF MOTION TO DISMISS COMPLAINT, FILED ON MARCH 14, 2022

                 Defendant SHARON TISZA, M.D. (“Dr. Tisza”), by and through her

attorneys, Lyons, Brandt, Cook & Hiramatsu, hereby submits this reply

memorandum in further support of her Motion to Dismiss Complaint (“Dr. Tisza’s

Motion”) [ECF No. 80] and in response to Plaintiff’s Opposition to Defendant

Tisza’s Motion to Dismiss (“Plaintiff’s Opposition”) [ECF No. 105].

I.               DISCUSSION

                 A.    Dr. Tisza’s Involvement With Plaintiff Was Limited to Her
                       Court Appointment As A Psychiatric Examiner

                 Plaintiff erroneously contends that judicial notice of the court orders

in the case entitled State of Hawaii v. Thomas R. Castleberry, Case No.

1PC061001421, Circuit Court of the First Circuit, State of Hawaii (hereinafter the

“Criminal Case”), create contested facts. It is clear that the Circuit Court orders,

Exhibits 3, 4, 5 and 6 to Dr. Tisza’s Motion, establish that Dr. Tisza was a court

appointed psychiatrist who was ordered to evaluate the fitness to proceed and penal

responsibility in the Criminal Case of Plaintiff, who was the person in the custody

of the State of Hawaii. Plaintiff does not dispute that Dr. Tisza only acted in her

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capacity as a court appointed psychiatrist performing examinations of Plaintiff as

ordered by the Circuit Court. As a court appointed psychiatric, Dr. Tisza is entitled

to judicial immunity from suit for acts and omissions which allegedly occurred

during her court ordered evaluations.

                 B.    Dr. Tisza’s Performance Of Court-Ordered Examinations Was
                       Not An Act In The Clear Absence Of All Jurisdiction

                 The sole basis of Plaintiff’s contention that Dr. Tisza is not entitled to

judicial immunity is that there was an alleged absence of jurisdiction because she

evaluated Plaintiff, who was identified as Thomas Castleberry by the Honolulu

Police Department (“HPD”), the State of Hawaii, the Deputy Public Defenders,

and the Circuit Court, instead of the actual Thomas Castleberry. See Plaintiff’s

Opposition at pp. 9-10. However, Plaintiff misconstrues the meaning of the “clear

absence of all jurisdiction” exception to the doctrine of judicial immunity.

                 The law is well-established that “[a] clear absence of all jurisdiction

means a clear lack of all subject matter jurisdiction.” Mullis v. U.S. Bankr.

Court for Dist. of Nevada, 828 F.2d 1385, 1389 (9th Cir. 1987) (emphasis added).

Jurisdiction should be broadly construed to effectuate the policies supporting

immunity. Miller v. Davis, 521 F.3d 1142, 1147 (9th Cir. 2008) (citation omitted);

see also Stump v. Sparkman, 435 U.S. 349, 98 S. Ct. 1099, 55 L. Ed. 2d 331(1978)

(“Because ‘some of the most difficult and embarrassing questions which a judicial

officer is called upon to consider and determine relate to his jurisdiction ...,’ the
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scope of the judge's jurisdiction must be construed broadly ....”

(quoting Bradley, 80 U.S. at 352)) (citation omitted). The meaning of a lack of

subject matter jurisdiction in the context of nullifying quasi-judicial immunity was

exemplified in the seminal case Bradley v. Fisher. As acknowledged by Plaintiff,

the Supreme Court in Bradley illustrated that there is no subject matter jurisdiction

where a probate judge tries a criminal case in his court. 80 U.S. 335, 351-52

(1871). The Bradley Court also held that an act in the clear absence of jurisdiction

is distinct from an act in excess of jurisdiction. Id. Acts in excess of jurisdiction

do not abrogate judicial immunity even when such acts are alleged to have been

done maliciously or corruptly. Id.

                 The only case that Plaintiff cites to where a court found a defendant

acting in clear absence of jurisdiction is Von Arx v. Shafer, 241 F. 649, 651 (9th

Cir. 1917). Unlike the magistrate in Von Arx, Dr. Tisza did not participate in any

scheme to confine Plaintiff. There is no allegation to suggest that Dr. Tisza

engaged in or ratified any type of conduct outside of what she was appointed to do

in evaluating Plaintiff.

                 The circumstances of the instant case are largely analogous to case

law, in which the courts found that defendants did not act in the absence of

jurisdiction and immunity was preserved. See O'Neil v. City of Lake Oswego, 642

F.2d 367, 369 (9th Cir.1981) (holding that a judge who convicted defendant for

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contempt, an act within the court's jurisdiction, but without the affidavit required

by statute to confer jurisdiction over the offense charged was still entitled to

immunity; his act was merely in excess of his jurisdiction); Mullis v. U.S. Bankr.

Court for Dist. of Nevada, 828 F.2d 1385, 1390-91 (9th Cir. 1987) (holding that a

bankruptcy trustee who allegedly refused to recommend debtor’s motion to

withdraw, refused to acknowledge that bankruptcy court lost jurisdiction once

notice of appeal was filed, filed motion for appointment of guardian ad litem in

attempt to prevent debtor from representing himself, and communicated ex parte

with bankruptcy judges had absolute quasi-judicial immunity from civil damages);

Schucker v. Rockwood, 846 F.2d 1202, 1204 (9th Cir.1988) (holding that a judge

who “misinterpreted a statute and erroneously exercised jurisdiction” did not act in

the “clear absence of all jurisdiction”).

                 Here, Dr. Tisza was clearly performing evaluations of the person in

custody at the Oahu Community Correctional Center (“OCCC”) and the Hawaii

State Hospital pursuant to orders of the Circuit Court. Plaintiff does not allege that

Dr. Tisza performed any other action outside the realm of the mandated psychiatric

evaluations. Rather, Plaintiff argues that Dr. Tisza lacked jurisdiction because she

“knew or should have known” that Plaintiff was not Thomas Castleberry since Dr.

Tisza’s reports submitted to the Circuit Court detail Plaintiff’s statements to her.

See Plaintiff’s Opposition at pp. 7-9. Plaintiff alleges that Dr. Tisza was “required”

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to review the records, verify the identity of the Plaintiff and “to act on the

information in these records and files as required by the Court’s order, which

caused Plaintiff’s wrongful incarceration.” Id. at 8 & 91. The gist of Plaintiff’s

arguments and allegations is that Dr. Tisza negligently performed her evaluations

by failing to conclude that Plaintiff was not the actual Thomas Castleberry.

Alleged negligence, even if proven true, is not conduct that is undertaken in the

clear absence of all subject matter jurisdiction. Negligence is a mistake in excess

of jurisdiction, which does not abrogate judicial immunity.

                 Moreover, the State of Hawaii did have custody of Plaintiff at OCCC

and Plaintiff’s attorneys in the Criminal Case requested that the Circuit Court order

an evaluation of Plaintiff, the person in custody. See Exhibit 2 at Dkt. Nos. 57 and

Exhibit 3 to Dr. Tisza’s Motion. Plaintiff’s own attorneys and the Circuit Court

had named Plaintiff as Thomas Castleberry when the Circuit Court ordered

Plaintiff’s evaluations by Dr. Tisza. Accordingly, the Circuit Court had

jurisdiction over Plaintiff since he was the person in custody of the State at OCCC.




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  Plaintiff misinterprets the Circuit Court orders (Exhibits 3-6 of Dr. Tisza’s
Motion). There is nothing in the Complaint, Circuit Court orders, and Dr. Tisza’s
reports (Exhibits H and I of Plaintiff’s Opposition) indicating that medical records
from California were provided to Dr. Tisza’s review.
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                 C.    Dr. Tisza’s Performance Of Court-Ordered Evaluations Was A
                       Function Integral To The Judicial Process, Involving The
                       Exercise Of Discretionary Judgment, And Functionally
                       Comparable To Those Of Judicial Officers

                 Plaintiff erroneously argues that his claims against Dr. Tisza are not

barred by judicial immunity as Dr. Tisza’s acts lacked the appropriate judicial

character. Determining an accused defendant’s competency to stand trial and penal

responsibility are fundamental to the criminal justice system in adjudicating

criminal charges.

                 Plaintiff erroneously contends that the rule in Seibel v. Kemble, 631

P.2d. 173 (1981), which granted court-appointed psychiatrists’ absolute judicial

immunity because they were performing a “function integral to the judicial

process” has been overruled by Antoine v. Byers & Anderson, Inc., 508 U.S. 429,

435. Despite Plaintiff’s unfounded claim that this application of immunity was

overturned, this remains Hawaii law and law in the 9th Circuit. Modern law is

well-defined that judicial officers maintain absolute quasi-judicial immunity from

damages for civil rights violations when they perform tasks that are an “integral

part of the judicial process”. See Mullis, 828 F.2d at 1390 (finding that court

clerks who allegedly failed to give a debtor proper counseling and notice regarding

chapters of the Bankruptcy Code under which the debtor could file, accepted and

filed incomplete bankruptcy petition, and refused to accept an amended petition

were performing integral parts of the judicial process and thereby had absolute
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immunity from damages); Grindling v. Taylor, No. CV 18-00495 JMS-RT, 2020

WL 1861655, at *3 (D. Haw. Apr. 13, 2020) (holding that the tasks of the drug

court administrator in determining treatment plans for incarcerated participants and

reviewing and making recommendations to the drug court judge for imposition of

court-ordered incentives and sanctions were “clearly integral to the judicial

process”). The courts have simply specified that for quasi-judicial immunity to

apply to a nonjudicial officer, the function performed “must be a judicial act with a

sufficiently close nexus to the adjudicative process,” and involve the exercise of

discretionary judgment.” In re Castillo, 297 F.3d 940, 948-49 (9th Cir. 2002), as

amended (Sept. 6, 2002).

                 Here, Dr. Tisza was appointed by the Circuit Court and ordered to

examine the person in custody at OCCC and at the Hawaii State Hospital. Dr.

Tisza was ordered to prepare reports concerning that person in custody’s trial

competency. These duties involve the “exercise of discretionary judgement” and

thus are functionally comparable to those of judicial officers. See Antoine v. Byers

& Anderson, Inc., 508 U.S. 429, 435-36 (1993).

                 Although Plaintiff dismisses Seibel’s applicability to the instant case

and grossly contorts Dr. Tisza’s argument to mean that court-appointed

psychiatrists enjoy immunity for anything they do, Seibel is directly applicable

here. It is undisputed that Dr. Tisza’s role was to examine and provide reports

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concerning the person in custody’s trial competency. The person in custody was

Plaintiff. Dr. Tisza had no authority or role in arresting and detaining Plaintiff.

Plaintiff does not dispute that Dr. Tisza’s duties involve discretion and are integral

to the judicial process. Rather, he disagrees that there is a distinction between

those who initially put Plaintiff in custody of the criminal justice system and those

who were required by the Court to evaluate fitness of the person in custody.

                 In addition, Plaintiff relies heavily on Swift v. California, 384 F.3d

1184, 1188 (9th Cir. 2004) and Garcia v. Cnty. Of Riverside, 817 F.3d. 635, 640

(9th Cir. 2016) in arguing that quasi-judicial immunity does not apply to Dr. Tisza.

The Ninth Circuit Court has been clear that incarceration based on mistaken

identity “might” violate the Due Process Clause in some circumstances. Garcia,

817 F.3d. at 640. Unlike Plaintiff’s characterization of this breadth of law, this is

not a unilateral rule that all non-judicial officers, serving integral judicial functions

in cases where there is an unfortunate incarceration based on mistaken identity

should be subject to an abrogation of their qualified immunity.

                 One such category of cases is where circumstances indicated to the

defendants that further investigation was warranted, which Plaintiff erroneously

contends is applicable to Dr. Tisza. A “further investigation” case requires

significant differences between the arrestee and the true warrant subject. Id. In

Garcia, the Ninth Circuit Court specifically concluded that an officer was not

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 entitled to qualified immunity because, for “further investigation” cases, ‘the

 standards for determining whether alleged police conduct violates the Fourteenth

 Amendment were clearly established and that “officers violate the Fourteenth

 Amendment if they wrongly detain a person where ‘the circumstances indicated to

 [them] that further investigation was warranted.’” Id. at 643 (citations omitted).

 The case law cited by Plaintiff in his contention that Dr. Tisza failed to meet her

 burden of establishing a defense of absolute quasi-judicial immunity has

 exclusively been applied to law enforcement officers, including sheriffs, parole

 officers, and prison officials, who explicitly had the authority to detain and

 imprison a misidentified person, and municipalities and related agencies that had

 oversight of training, policies, and procedures that governed law enforcement

 officers conduct specific to detention and imprisonment. See Swift v. California,

 384 F.3d 1184, 1188 (9th Cir. 2004) (finding that parole officers were not entitled

 to absolute immunity for their conduct while investigating suspected parole

 violations and other functions not requiring exercise of discretionary judgment)

 (emphasis added); Rivera v. County of Los Angeles, 745 F.3d 384, 393 (9th Cir.

 2014) (finding that the counties and sheriff’s departments had immunity from

 claims for false imprisonment by an arrestee who was mistakenly identified as

 subject of an arrest warrant, where the sheriff’s deputies had reasonable belief that

 the arrestee was the subject named in the warrant) (emphasis added); Garcia v.

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 Cnty. Of Riverside, 817 F.3d. 635, 640 (9th Cir. 2016) (finding that the county and

 sheriff were not entitled to absolute immunity where they mistakenly incarcerated

 a man on a warrant without a reasonable investigation of his identity, when the

 circumstances clearly demanded it at the time of the man’s arrest). To extend this

 analysis to a court-appointed psychiatrist, who had a specific court-determined role

 of evaluating the trial fitness of a person who was already in custody, would be

 contrary to existing case law and policy.

                  Accordingly, Dr. Tisza is entitled to judicial immunity on all claims

 asserted by Plaintiff.

                  D.    It Is Futile To Amend The Complaint

                  While the courts freely give leave to amend a complaint “when justice

 so requires,” the courts may deny a motion to amend a complaint when a proposed

 complaint would be futile. See Carrico v. City & Cty. of San Francisco, 656 F.3d

 1002, 1008 (9th Cir. 2011); Gordon v. City of Oakland, 627 F.3d 1092, 1094 (9th

 Cir. 2010). Assuming arguendo that the Court finds that Dr. Tisza is immune from

 suit, it would be futile to allow Plaintiff to amend his Complaint and therefor, the

 request for leave to amend should be denied.

 II.              CONCLUSION

                  Based upon the forgoing, Dr. Tisza respectfully requests that the Court

 grant her Motion to Dismiss the Complaint.


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                  DATED: Honolulu, Hawaii, April 28, 2022.


                                               /s/ Edquon Lee
                                               THOMAS E. COOK
                                               EDQUON LEE
                                               Attorneys for Defendant
                                               DR. SHARON TISZA




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